EXHIBIT H
                                Invalidity Chart for U.S. Patent No. 8,494,967

                 GROUND 4 – TERRELL IN VIEW OF WHEELER IN VIEW OF ROSEN

    U.S. Patent No.       WO 2009/141614 Al        Pub. No.: US          US Patent No.             Grounds for
       8,494,967           to TERRELL             2005/0137889 Al      5,621,797 to Rosen           Invalidity
                                                    to Wheeler
Claim 2     Claim 19           Published          Published June     Issued April 15, 1997
                          November 26, 2009           23, 2005
[a] The method of claim Terrell discloses this                      With respect to               Claims 2 and
1 further comprising:    recitation wherein it                      Bytemark’s                    19 are invalid
                         teaches updating a                         interpretation of the         for
in response to the       database to include                        claim limitation, Rosen       indefiniteness
determining whether a    information of ticket                      disclose “Tickets 8 may       as set forth in
token associated with    purchases – “write                         be transferred between        preceding
the purchased electronic details of an event to                     trusted agents 120 (aside     arguments.
ticket has been stored   said database in                           from the initial issuing      However, the
results in a             response to a                              of the ticket). There are     patent owner
determination that no    purchase made by a                         several reasons an            has attempted
such token has been      customer using a                           owner may wish to do          to construe the
stored, initiating       mobile device having                       this. For example, if a       recitations of
confirmation that the    a viewable screen.”                        ticket 8 was purchased        claims 2 and 19
purchased electronic     (Ex. 1010, pg. 22, ln                      via a desktop transaction     during third
ticket has been          17-18).                                    device 122 (e.g., a CTD       party litigation
purchased;                                                          188 embedded in a             as definite
                                                                    personal computer), then      based on the
                                                                    the owner may wish to         interpretation
                                                                    transfer it to a portable     the tokens
                                                                    device (e.g., an              recited in
                                                                    electronic wallet). Or, if    claims 1 and 18
                                                                    the owner buys a ticket       may be
                                                                    8 for a friend or relative,   construed as
                                                                    then the owner can            any token
                                                                    transfer the ticket to the    including
                                                                    other party for their use.    merely a user
                                                                    Another situation is          ID: “there are
                                                                    when the owner                many tokens
                                                                    purchases a new               associated with
                                                                    transaction device 122        the previously
                                                                    and wishes to transfer        purchased
                                                                    his credentials to the        electronic
                                                                    new device.” (Id. at col.     tickets. The
                                                                    26 ln. 14-24).                login ID is one
                                                                                                  such token, the
                                                                    Rosen teaches that “[A]       password is
                                                                    trusted agent is a            another, the
                                                                    combination of                App ID is
                                                                    hardware and software         another, the
                                                                    components.” (Id. at col.     User ID token
                                                                    4 ln. 14-16).                 is another and
                                                                                                  the session ID
                                                                    Rosen also discloses          token as an
                                                                    “[A] Receiver ID’s field      alias for the
                                                                    28 contains the               User ID token
                                                                    receiving trusted agent’s     is another.
                                                                    identification number.        These tokens
                                                                    A Sender ID's field 30        are associated
                                                                    contains the sending          with each other
                                                                    trusted agent's               and thereby
                                                                    identification number.        with each of the
                                                                    (Id. at col. 7 ln. 49-62).    purchased
                                                                    In addition, Rosen also       tickets in an
                                                                    discloses “whenever a         account.” (Ex
                                                                    ticket 8 is transferred       1014. p. 17 of
                                                                    between trusted agents,       Exhibit F-‘967
                                                                    the sender digitally signs    Chart B-2).
                                                                    the ticket over the five      The patent
                                                                    preceding ticket sections     owner has
                                                                    using a private key           further asserted

FISHMAN STEWART PLLC                                  1                                              1/7/2018
                                                                Petitioners Xerox, et al. - Exhibit 1018 - Page 1
                       Invalidity Chart for U.S. Patent No. 8,494,967

             GROUND 4 – TERRELL IN VIEW OF WHEELER IN VIEW OF ROSEN

                                                           belonging to the sender's   that this
                                                           trusted agent. The          recitation is
                                                           Sender Signatures           directed
                                                           section 20 is then          towards a
                                                           updated by appending        situation
                                                           the newly created digital   wherein a ticket
                                                           signature, thus forming     holder logs into
                                                           a list of sender            his account
                                                           signatures.” (Id. at col.   with a new
                                                           7 ln. 64-67).               phone and his
                                                                                       existing ticket
                                                           Moreover, Rosen refers wallet is
                                                           to Fig. 25, which shows transferred over
                                                           “the procedure followed where, after the
                                                           when the owner of           server confirms
                                                           trusted agent A wants to the login ID
                                                           transfer one or more        and the
                                                           tickets 8 to trusted agent associated
                                                           B (step 836). Initially,    password, the
                                                           HTA connects to HTB         server checks
                                                           (step 838). HTA then        the App ID to
                                                           instructs its trusted agent “determine
                                                           to "Transfer Ticket(s)"     whether a
                                                           and HTB instructs its       record
                                                           trusted agent to            associated with
                                                           "Receive Ticket(s)"         the provided
                                                           (steps 840-842). Next,      App ID exists
                                                           the trusted agents          in the account
                                                           establish a secure          associated with
                                                           session (step 844). To      the login ID.”
                                                           Host A then sends an        (Id. p. 18 of
                                                           inquiry to the              Exhibit F- ‘967
                                                           transaction device          Chart B-2).
                                                           owner via HTA whether
                                                           to check the identifying The patent
                                                           credential of the party to owner further
                                                           receive the ticket(s)       alleges that
                                                           (steps 846-848). If there “[T]he
                                                           is no credential check or differences in
                                                           a credential check is       App IDs
                                                           performed successfully between the
                                                           (steps 850-854), then       second phone
                                                           Ticket Holder A             and the first
                                                           requests the ID's of the    phone initiates
                                                           tickets to be transferred the process by
                                                           (step 856). Tickets are     which
                                                           selected from a list of     reassignment
                                                           tickets held by trusted     and aggregation
                                                           agent A. To Host A          of tickets
                                                           sends the message to        occurs,” which
                                                           HTA with the ticket list, corresponds to
                                                           the owner chooses, and a process of
                                                           To Host A receives the      confirmation
                                                           response identifying the that the
                                                           selected ticket(s) (steps purchased
                                                           858-862).” (Id. at col. 26 electronic
                                                           ln. 25-41).                 ticket(s) have
                                                           Rosen teaches that a        been purchased.
                                                           secure session between a (Id. p. 18 of
                                                           trusted agent and a         Exhibit F- ‘967
                                                           trusted server can be       Chart B-2).
                                                           established using           (Verify this is
                                                           cryptographic means,        not under seal)
                                                           such as symmetric key
                                                           cryptographic functions. Rosen discloses

FISHMAN STEWART PLLC                         2                                            1/7/2018
                                                       Petitioners Xerox, et al. - Exhibit 1018 - Page 2
                       Invalidity Chart for U.S. Patent No. 8,494,967

             GROUND 4 – TERRELL IN VIEW OF WHEELER IN VIEW OF ROSEN

                                                           (Id. claim 1 and at col. 9 the recitations
                                                           ln. 67-68).                of element [a],
                                                                                      in accordance
                                                                                      with the patent
                                                                                      owners
                                                                                      interpretation to
                                                                                      avoid
                                                                                      indefiniteness,
                                                                                      wherein it
                                                                                      discloses
                                                                                      “Tickets 8 may
                                                                                      be transferred
                                                                                      between trusted
                                                                                      agents 120
                                                                                      (aside from the
                                                                                      initial issuing
                                                                                      of the ticket)…
                                                                                      Another
                                                                                      situation is
                                                                                      when the owner
                                                                                      purchases a
                                                                                      new transaction
                                                                                      device 122 and
                                                                                      wishes to
                                                                                      transfer his
                                                                                      credentials to
                                                                                      the new
                                                                                      device.” (Ex.
                                                                                      1012. at col. 26
                                                                                      ln. 14-24). In
                                                                                      addition, Rosen
                                                                                      also discloses
                                                                                      “whenever a
                                                                                      ticket 8 is
                                                                                      transferred
                                                                                      between trusted
                                                                                      agents, the
                                                                                      sender digitally
                                                                                      signs the ticket
                                                                                      over the five
                                                                                      preceding ticket
                                                                                      sections using a
                                                                                      private key
                                                                                      belonging to
                                                                                      the sender's
                                                                                      trusted agent.
                                                                                      The Sender
                                                                                      Signatures
                                                                                      section 20 is
                                                                                      then updated by
                                                                                      appending the
                                                                                      newly created
                                                                                      digital
                                                                                      signature, thus
                                                                                      forming a list of
                                                                                      sender
                                                                                      signatures.”
                                                                                      (Id. at col. 7 ln.
                                                                                      64-67). Rosen
                                                                                      teaches that a
                                                                                      secure session
                                                                                      between a
                                                                                      trusted agent
                                                                                      and a trusted
                                                                                      server can be

FISHMAN STEWART PLLC                         3                                            1/7/2018
                                                       Petitioners Xerox, et al. - Exhibit 1018 - Page 3
                       Invalidity Chart for U.S. Patent No. 8,494,967

             GROUND 4 – TERRELL IN VIEW OF WHEELER IN VIEW OF ROSEN

                                                                                       established
                                                                                       using
                                                                                       cryptographic
                                                                                       means, such as
                                                                                       symmetric key
                                                                                       cryptographic
                                                                                       functions. (Id.
                                                                                       claim 1 and at
                                                                                       col. 9 ln. 67-
                                                                                       68).

                                                                                       Rosen discloses
                                                                                       the recitations
                                                                                       of element [a]
                                                                                       within the
                                                                                       patent owners
                                                                                       own
                                                                                       interpretation to
                                                                                       avoid
                                                                                       indefiniteness.
                                                                                       Further, it
                                                                                       would be
                                                                                       obvious to one
                                                                                       skilled in the art
                                                                                       that the
                                                                                       recitations of
                                                                                       elements [a-c]
                                                                                       would be
                                                                                       obvious over
                                                                                       Terrell in view
                                                                                       of Wheeler in
                                                                                       further view of
                                                                                       Rosen. As
                                                                                       taught in Rosen,
                                                                                       it is a well-
                                                                                       known scenario
                                                                                       that owners of
                                                                                       mobile
                                                                                       electronic
                                                                                       tickets may
                                                                                       acquire new
                                                                                       devices that
                                                                                       would need to
                                                                                       be synced with
                                                                                       the server and
                                                                                       the ticketing
                                                                                       data would
                                                                                       need to be
                                                                                       associated with
                                                                                       the new device.
                                                                                       One skilled in
                                                                                       the art would be
                                                                                       motivated to
                                                                                       combine Rosen
                                                                                       with the
                                                                                       disclosures of
                                                                                       Terrell and
                                                                                       Wheeler as it is
                                                                                       well known that
                                                                                       customers lose
                                                                                       or obtain new
                                                                                       phones and it
                                                                                       would be
                                                                                       desirable for an
                                                                                       electronic

FISHMAN STEWART PLLC                         4                                            1/7/2018
                                                       Petitioners Xerox, et al. - Exhibit 1018 - Page 4
                                 Invalidity Chart for U.S. Patent No. 8,494,967

                 GROUND 4 – TERRELL IN VIEW OF WHEELER IN VIEW OF ROSEN

                                                                                                ticketing
                                                                                                system to
                                                                                                accommodate
                                                                                                this scenario
  [b] in dependence on     Terrell discloses this   Id.              Rosen discloses “the       Rosen discloses      Terrell disc
  such confirmation,       recitation wherein it                     trusted agents establish a the recitations      information
  storing a token in the   teaches updating a                        secure session (step       of element [b]       purchase ve
  data record              database to include                       844). To Host A then       within the           that it does
  associated with the      information of ticket                     sends an inquiry to the    patent owners        storage of t
  purchased electronic     purchases – “write                        transaction device         own                  information
  ticket; and              details of an event to                    owner via HTA whether interpretation to
                           said database in                          to check the identifying avoid                  Wheeler, ho
                           response to a                             credential of the party to indefiniteness.      tokens in th
                           purchase made by a                        receive the ticket(s)      Further, it          electronic t
                           customer using a                          (steps 846-848). If there would be              mobile pho
                           mobile device having                      is no credential check or obvious to one        secure com
                           a viewable screen.”                       a credential check is      skilled in the art   server and t
                           (Ex. 1010, pg. 22, ln                     performed successfully that the                 Wheeler an
                           17-18).                                   (steps 850-854), then      recitations of       systems inv
                                                                     Ticket Holder A            elements [a-c]       validation o
                                                                     requests the ID's of the   would be             One skilled
                                                                     tickets to be transferred obvious over          motivated t
                                                                     (step 856).” (Id. at col. Terrell in view       Wheeler wi
                                                                     26 ln. 30-34).             of Wheeler in        directed tow
                                                                                                further view of      security of
                                                                                                Rosen. As            are directed
                                                                                                taught in Rosen,     (providing
                                                                                                it is a well-        electronic t
                                                                                                known scenario       are directed
                                                                                                that owners of       same centra
                                                                                                mobile               systems in
                                                                                                electronic           phones).
                                                                                                tickets may
                                                                                                acquire new          It is my opi
                                                                                                devices that         art would b
                                                                                                would need to        database up
                                                                                                be synced with       purchased t
                                                                                                the server and       taught be T
                                                                                                the ticketing        associated w
                                                                                                data would           specific tick
                                                                                                need to be           Wheeler. O
                                                                                                associated with      so motivate
                                                                                                the new device.      utilization o
                                                                                                One skilled in       ticket ident
                                                                                                the art would be     security and
                                                                                                motivated to         the Terrell
                                                                                                combine Rosen        directed. T
                                                                                                with the             Wheeler the
                                                                                                disclosures of       claims 2 an
                                                                                                Terrell and
                                                                                                Wheeler as it is
                                                                                                well known that
                                                                                                customers lose
                                                                                                or obtain new
                                                                                                phones and it
                                                                                                would be
                                                                                                desirable for an
                                                                                                electronic
                                                                                                ticketing
                                                                                                system to
                                                                                                accommodate
                                                                                                this scenario
  [c] transmitting to      Terrell discloses this Id.                Rosen, with respect to     Rosen discloses      Terrell clea
  the user's computer      recitation wherein it                     this limitation, discloses the recitations      “eye-readab
  device a visual          teaches “supply ticket                    “[T]icket Holder A         of element [c]       user’s devic

FISHMAN STEWART PLLC                                      5                                         1/7/2018
                                                                 Petitioners Xerox, et al. - Exhibit 1018 - Page 5
                                Invalidity Chart for U.S. Patent No. 8,494,967

               GROUND 4 – TERRELL IN VIEW OF WHEELER IN VIEW OF ROSEN

  validation display     specific data defining                     receives the                  within the         claims 2 an
  object corresponding   a ticket to said mobile                    acknowledgement and           patent owners
  to the purchased       device including a                         deletes the ticket(s) (step   own
  electronic ticket.     ticket expiry time.”                       884). Trusted agent A         interpretation to
                         (Ex. 1010, pg. 22, ln                      informs Ticket Holder B       avoid
                         19-20) and “[f]or the                      that the tickets are          indefiniteness.
                         purposes of speed and                      deleted (steps 884-886)       Further, it
                         economy, at times it                       and commits (step 888).       would be
                         may preferable for                         Ticket Holder B               obvious to one
                         such a ticket                              receives the message          skilled in the art
                         inspection to be                           (step 890) and then           that the
                         merely done by the                         trusted agent B commits       recitations of
                         inspector’s eyes.” (Id.                    (step 892).” (Id. at col.     elements [a-c]
                         at pg. 4, ln 16-17).                       26 ln. 53-56).                would be
                                                                                                  obvious over
                                                                                                  Terrell in view
                                                                                                  of Wheeler in
                                                                                                  further view of
                                                                                                  Rosen. As
                                                                                                  taught in Rosen,
                                                                                                  it is a well-
                                                                                                  known scenario
                                                                                                  that owners of
                                                                                                  mobile
                                                                                                  electronic
                                                                                                  tickets may
                                                                                                  acquire new
                                                                                                  devices that
                                                                                                  would need to
                                                                                                  be synced with
                                                                                                  the server and
                                                                                                  the ticketing
                                                                                                  data would
                                                                                                  need to be
                                                                                                  associated with
                                                                                                  the new device.
                                                                                                  One skilled in
                                                                                                  the art would be
                                                                                                  motivated to
                                                                                                  combine Rosen
                                                                                                  with the
                                                                                                  disclosures of
                                                                                                  Terrell and
                                                                                                  Wheeler as it is
                                                                                                  well known that
                                                                                                  customers lose
                                                                                                  or obtain new
                                                                                                  phones and it
                                                                                                  would be
                                                                                                  desirable for an
                                                                                                  electronic
                                                                                                  ticketing
                                                                                                  system to
                                                                                                  accommodate
                                                                                                  this scenario




FISHMAN STEWART PLLC                                  6                                              1/7/2018
                                                                Petitioners Xerox, et al. - Exhibit 1018 - Page 6
